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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA
V. Criminal No. 18-10364-DPW
GENOVEVA ANDRADE,

Defendant

Nes Ne Ne SS SS SS SS WS

DISMISSAL OF COUNTS TWENTY, TWENTY-ONE, AND TWENTY-FIVE OF THE
SECOND SUPERSEDING INDICTMENT

Pursuant to Fed. R. Crim. P. 48(a), the United States Attorney for the District of
Massachusetts hereby dismisses Counts Twenty, Twenty-One, and Twenty-Five of the Second
Superseding Indictment (ECF Dkt. No. 69) which charges defendant Andrade, respectively, with
extortion conspiracy, in violation of 18 U.S.C. § 1951, extortion and aiding and abetting, in
violation of 18 U.S.C. §§ 1951 and 2, and bribery in violation of 18 U.S.C. § 666(a)(2). In support
of this dismissal, the government states that the United States Attorney agreed in the plea
agreement in this case (ECF Dkt. No. 392) to dismiss Counts Twenty, Twenty-One, and Twenty-
Five of the Second Superseding Indictment upon Defendant’s sentencing on count Twenty-Six of
the Second Superseding Indictment, and other considerations. The Honorable Court sentenced
Defendant on March 7, 2022 (ECF Dkt. No. 403). The government believes that such dismissal
is in the interests of justice.

Respectfully Submitted,

RACHAEL S. ROLLINS
United States A rey

Z gr Le as

Date: March 10, 2022 By:

 

Chief, Criminal Division
AMANDA P.M. Strachan
Deputy Chief, Criminal Division
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AVID G. TOBIN
DUSTIN CHAO
Assistant U.S. Attorneys

Leave to File Granted:

 

DOUGLAS P. WOODLOCK, Judge
United States District Court
